Case: 1:20-cv-00512 Document #: 46-3 Filed: 04/27/20 Page 1 of 12 PageID #:277
     Case: 1:20-cv-00512 DocumentDocument
             Case 1:20-cv-01296   #: 46-3 Filed: 04/27/20
                                            1 Filed       Page Page
                                                     02/13/20  2 of 12 PageID
                                                                     1 of 11 #:278



                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK


    MARIO CALDERON and JENNIFER ROCIO,
    individually and on behalf of all others similarly
    situated,                                               Civil Action No.:

                                   Plaintiffs,              CLASS ACTION COMPLAINT

           v.                                               JURY TRIAL DEMANDED

    CLEARVIEW AI, INC. and
    CDW GOVERNMENT LLC,

                                   Defendants.


          Plaintiffs Mario Calderon and Jennifer Rocio (“Plaintiffs”) bring this Class Action

Complaint against Defendants Clearview AI, Inc. (“Clearview”) and CDW Government LLC

(“CDW”) or (collectively “Defendants”), individually and on behalf of all others similarly

situated, and complain and allege upon personal knowledge as to themselves and their own acts

and experiences and, as to all other matters, upon information and belief, including an

investigation conducted by their attorneys:

                                     NATURE OF THE ACTION

          1.      Plaintiffs bring this action for damages and other legal and equitable remedies

resulting from the illegal actions of Clearview and CDW in collecting, storing and using their

and other similarly situated individuals’ biometric identifiers 1 and biometric information 2

(referred to collectively at times as “biometrics”) without informed written consent, in direct




1
  A “biometric identifier” is any personal feature that is unique to an individual, including
fingerprints, iris scans, DNA and “face geometry,” among others.
2
  “Biometric information” is any information captured, converted, stored, or shared based on a
person’s biometric identifier used to identify an individual.
   Case: 1:20-cv-00512 DocumentDocument
           Case 1:20-cv-01296   #: 46-3 Filed: 04/27/20
                                          1 Filed       Page Page
                                                   02/13/20  3 of 12 PageID
                                                                   2 of 11 #:279



violation of Illinois’ Biometric Information Privacy Act (“BIPA”), 740 ILCS 14/1, et seq.

       2.      The Illinois Legislature has found that “[b]iometrics are unlike other unique

identifiers that are used to access finances or other sensitive information.” 740 ILCS 14/5(c).

“For example, social security numbers, when compromised, can be changed. Biometrics,

however, are biologically unique to the individual; therefore, once compromised, the individual

has no recourse, is at heightened risk for identity theft, and is likely to withdraw from biometric-

facilitated transactions.” Id.

       3.      In recognition of these concerns over the security of individuals’ biometrics, the

Illinois Legislature enacted BIPA, which provides, inter alia, that a private entity like Clearview

may not obtain and/or possess an individual’s biometrics unless it: (1) informs that person in

writing that biometric identifiers or information will be collected or stored; (2) informs that

person in writing of the specific purpose and length of term for which such biometric identifiers

or biometric information is being collected, stored and used; (3) receives a written release from

the person for the collection of her or her biometric identifiers or information; and (4) publishes

publicly available written retention schedules and guidelines for permanently destroying

biometric identifiers and biometric information.

       4.      In direct violation of each of the foregoing provisions, Clearview and CDW

actively collected, stored and used Plaintiffs’ biometrics—and the biometrics of most of the

residents of Illinois—without providing notice, obtaining informed written consent or publishing

data retention policies.

       5.      Specifically, Clearview has amassed a database of more than three billion

photographs that it scraped from sources including Instagram, Twitter, YouTube, Facebook,

Venmo and millions of other websites. Using this data, Clearview created a facial recognition




                                                   2
   Case: 1:20-cv-00512 DocumentDocument
           Case 1:20-cv-01296   #: 46-3 Filed: 04/27/20
                                          1 Filed       Page Page
                                                   02/13/20  4 of 12 PageID
                                                                   3 of 11 #:280



tool that can identify virtually anyone by simply uploading a photograph. Users can take a

picture of a stranger on the street, upload it to Clearview’s tool and instantly see photos of that

person on various social media platforms and websites, along with the person’s name, address

and other identifying information.

        6.      As the New York Times explained, this tool, which Clearview has licensed to

“hundreds of law enforcement agencies,” could “end your ability to walk down the street

anonymously.” “The weaponization possibilities of this are endless,” said Eric Goldman, co-

director of the High Tech Law Institute at Santa Clara University. “Imagine a rogue law

enforcement officer who wants to stalk potential romantic partners, or a foreign government

using this to dig up secrets about people to blackmail them or throw them in jail.”

        7.      Clearview sells its facial recognition tool through its Illinois-based agent CDW.

CDW, on behalf of Clearview, licenses the Clearview app to law enforcement agencies and other

entities. One of Clearview’s clients, obtained through CDW, is the Chicago Police Department

(“CPD”). The CPD entered into a two-year, $49,875 contract on January 1, 2020 with CDW to

use Clearview’s technology. For at least two months before that, select officials at the CPD’s

Crime Prevention and Information Center (“CPIC”) used the software on a trial basis after

another law enforcement agency recommended the technology. After the trial ended, the CPD

was so impressed with the results that it gave approximately 30 CPIC officials full access to

Clearview’s technology, effectively unleashing this vast, Orwellian surveillance tool on the

citizens of Illinois.

                                 JURISDICTION AND VENUE

        8.      This Court has original jurisdiction over this controversy pursuant to 28 U.S.C.

§ 1332(d) because there are more than 100 class members and the aggregate amount in




                                                  3
  Case: 1:20-cv-00512 DocumentDocument
          Case 1:20-cv-01296   #: 46-3 Filed: 04/27/20
                                         1 Filed       Page Page
                                                  02/13/20  5 of 12 PageID
                                                                  4 of 11 #:281



controversy exceeds $5,000,000.00, exclusive of interest, fees, and costs, and at least one Class

member is a citizen of a state different from one of the Defendants.

       9.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Clearview

maintains is corporate headquarters and principal place of business in this District.

                                                PARTIES

       10.     Plaintiff Mario Calderon is, and has been at all relevant times, a resident and

citizen of Chicago, Illinois. Mr. Calderon is an account holder for several services from which

Clearview has scraped data, including Facebook, Instagram, Snapchat and Google Photos. He

has uploaded photographs depicting his face to these websites from within Illinois on a regular

basis, at least some of which are publicly available. These photographs contained metadata

reflecting that he was located within Illinois. As such, Mr. Calderon is informed and believes

that his biometrics (a scan of facial geometry) are contained in Clearview’s database and that his

biometrics have been disclosed to CDW and CPD and used by CDW and CPD via Clearview’s

proprietary platform. Defendants’ collection, storage and use of his biometrics violated Mr.

Calderon’s statutorily protected rights under BIPA. Defendants’ actions also invaded his privacy

and caused him to lose control over his biometrics.

       11.     Plaintiff Jennifer Rocio is, and has been at all relevant times, a resident and

citizen of Romeoville, Illinois. Ms. Rocio is an account holder for several services from which,

on information and belief, Clearview has scraped data, including Facebook, Snapchat, Instagram,

YouTube, TikTok and others. She has uploaded photographs depicting her face to these

websites from within Illinois on a regular basis, at least some of which are publicly available.

These photographs contained metadata reflecting that she was located within Illinois. As such,

Ms. Rocio is informed and believes that her biometrics (a scan of facial geometry) are contained




                                                 4
  Case: 1:20-cv-00512 DocumentDocument
          Case 1:20-cv-01296   #: 46-3 Filed: 04/27/20
                                         1 Filed       Page Page
                                                  02/13/20  6 of 12 PageID
                                                                  5 of 11 #:282



in Clearview’s database and that her biometrics have been disclosed to CDW and CPD and used

by CDW and CPD via Clearview’s proprietary platform. Defendants’ collection, storage and use

of her biometrics violated her statutorily protected rights under BIPA. Defendants’ actions also

invaded her privacy and caused her to lose control over her biometrics.

       12.     Defendant Clearview AI, Inc. is a Delaware corporation with its headquarters

located at 214 W 29th Street, 2nd Floor, New York, NY, 10001. Clearview has collected the

biometrics of Illinois residents without the requisite consent, including that of the Plaintiffs and

members of the proposed Class, and has sold or otherwise disclosed that data to Illinois-based

entities, including to the Chicago Police Department. Clearview continues to engage in this

conduct to this day.

       13.     Defendant CDW Government LLC is an Illinois company headquartered in

Vernon Hills, Illinois. CDW acts as Clearview’s agent to license Clearview’s proprietary facial

recognition platform to third parties, including the Chicago Police Department.

                               CLASS ACTION ALLEGATIONS

       14.     Plaintiff seeks to represent a class defined as all individuals who, while residing in

the state of Illinois, had their biometric identifiers captured, collected, or obtained by Clearview

at any point during the preceding five years. Excluded from the Class is any entity in which any

Defendant has a controlling interest, and officers or directors of Defendants.

       15.     Members of the Class are so numerous that their individual joinder herein is

impracticable. Upon information and belief, members of the Class number in the millions. The

precise number of Class members and their identities are unknown to Plaintiffs at this time but

may be determined through discovery. Class members may be notified of the pendency of this

action by mail and/or publication through the distribution records of Defendants.




                                                  5
   Case: 1:20-cv-00512 DocumentDocument
           Case 1:20-cv-01296   #: 46-3 Filed: 04/27/20
                                          1 Filed       Page Page
                                                   02/13/20  7 of 12 PageID
                                                                   6 of 11 #:283



       16.      Common questions of law and fact exist as to all Class members and predominate

over questions affecting only individual Class members. Common legal and factual questions

include, but are not limited to:

             a. whether Defendants properly informed Plaintiffs and each Class member that they
                collected, used, and stored their biometric identifiers or biometric information;

             b. whether Defendants obtained a written release (as defined in 740 ILCS 1410) to
                collect, use, and store Plaintiffs’ and each Class member’s biometric identifiers or
                biometric information;

             c. whether Defendants violated BIPA in Illinois by collecting, capturing, or
                obtaining Plaintiffs’ and each Class member’s biometric identifiers or biometric
                information absent the requisite informed written release;

             d. whether Defendants developed a written policy, made available to the public,
                establishing a retention schedule and guidelines for permanently destroying
                biometric identifiers and biometric information when the initial purpose for
                collecting or obtaining such identifiers or information has been satisfied or within
                3 years of their last interaction, whichever occurs first;

             e. whether Defendants stored, disclosed, sold, or otherwise used Plaintiffs’ and each
                Class’s biometric identifiers or biometric information in Illinois;

             f. whether any violations of BIPA committed by Defendants were committed
                negligently; and

             g. whether any violations of BIPA committed by Defendants were committed
                knowingly or recklessly.

       17.      The claims of the named Plaintiffs are typical of the claims of the Class in that

Defendants collected, captured, or obtained each of their biometrics while each was residing in

Illinois, without obtaining consent or adhering to the other requirements of BIPA.

       18.      Plaintiffs are adequate representatives of the Class because their interests do not

conflict with the interests of the Class members they seek to represent, they have retained

competent counsel experienced in prosecuting class actions, and they intend to prosecute this

action vigorously. The interests of Class members will be fairly and adequately protected by

Plaintiffs and their counsel.



                                                  6
   Case: 1:20-cv-00512 DocumentDocument
           Case 1:20-cv-01296   #: 46-3 Filed: 04/27/20
                                          1 Filed       Page Page
                                                   02/13/20  8 of 12 PageID
                                                                   7 of 11 #:284



          19.   The class mechanism is superior to other available means for the fair and efficient

adjudication of the claims of Class members. Each individual Class member may lack the

resources to undergo the burden and expense of individual prosecution of the complex and

extensive litigation necessary to establish Defendants’ liability. Individualized litigation

increases the delay and expense to all parties and multiplies the burden on the judicial system

presented by the complex legal and factual issues of this case. Individualized litigation also

presents a potential for inconsistent or contradictory judgments. In contrast, the class action

device presents far fewer management difficulties and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court on the issue of

Defendants’ liability. Class treatment of the liability issues will ensure that all claims and

claimants are before this Court for consistent adjudication of the liability issues.

                                            COUNT I
                           Violation of the Illinois Biometric Information
                                 Privacy Act, 740 ILCS 14/1, et seq.

          20.   Plaintiffs incorporate by reference the foregoing allegations as if fully set forth

herein.

          21.   Illinois’ BIPA requires private entities, such as Defendants, to obtain informed

written consent from individuals before acquiring their biometric information. Specifically,

BIPA makes it unlawful to “collect, capture, purchase, receive through trade, or otherwise obtain

a person’s or customer’s biometric identifiers or biometric information unless [the entity] first:

(1) informs the subject . . . in writing that a biometric identifier or biometric information is being

collected or stored; (2) informs the subject . . . in writing of the specific purpose and length of for

which a biometric identifier or biometric information is being captured, collected, stored, and

used; and (3) receives a written release executed by the subject of the biometric identifier or




                                                  7
  Case: 1:20-cv-00512 DocumentDocument
          Case 1:20-cv-01296   #: 46-3 Filed: 04/27/20
                                         1 Filed       Page Page
                                                  02/13/20  9 of 12 PageID
                                                                  8 of 11 #:285



biometric information . . . .” 740 ILCS 14/15(b).

       22.     Illinois’ BIPA also requires that private entities in possession of biometric

identifiers and/or biometric information establish and maintain a publicly available retention

policy. Entities which possess biometric identifiers or information must (i) make publicly

available a written policy establishing a retention schedule and guidelines for permanent deletion

of biometric information (entities may not retain biometric information longer than three years

after the last interaction with the individual); and (ii) must adhere to the publicly posted retention

and deletion schedule.

       23.     Defendants are each a “private entity” as that term is defined under BIPA. See

740 ILCS 14/10.

       24.     Plaintiffs are informed and believe that, through photographs available on various

websites, Defendants collected, captured, received or otherwise obtained the “biometric

identifiers” of Plaintiffs and the other Class members, including scans of their face geometry.

       25.     Using data derived from Plaintiffs’ and the Class members’ biometric identifiers,

Plaintiffs are informed and believe that Defendants also collected, captured, received or

otherwise obtained the “biometric information” of Plaintiffs and the other Class members, in the

form of their name, gender, age, location and other data.

       26.     Plaintiffs are informed and believe that Defendants thereafter sold or otherwise

disclosed Plaintiffs’ and the other Class members’ biometric identifiers and/or biometric

information to other third parties in Illinois. Plaintiffs are informed and believe that one or more

of these third parties, by way of Clearview’s platform, used and stored Plaintiffs’ and the other

Class members’ biometrics in Illinois.

       27.     Defendants’ practices with respect to capturing, collecting, storing, and using




                                                  8
  Case: 1:20-cv-00512 DocumentDocument
           Case 1:20-cv-01296  #: 46-3 Filed: 04/27/20
                                          1 Filed      Page 10
                                                  02/13/20     of 12
                                                            Page     PageID
                                                                  9 of 11   #:286




biometric identifiers and biometric information fails to comply with applicable BIPA

requirements. Specifically, with respect to Plaintiffs and the other Class members, Defendants

failed to:

              a. obtain the written release required by 740 ILCS 14/15(b)(3);

              b. inform Plaintiffs and the other Class members in writing that their biometric
                 identifiers and/or biometric information were being captured, collected, stored,
                 and used, as required by 740 ILCS 14/15(b)(1);

              c. inform Plaintiffs and the other Class members in writing of the specific purpose
                 for which their biometric information and/or biometric identifiers were being
                 captured, collected, stored, and used, as required by 740 ILCS 14/15(b)(2);

              d. inform Plaintiffs and the other Class members in writing of the specific length of
                 term their biometric information and/or biometric identifiers were being captured,
                 collected, stored and used, as required by 740 ILCS 14/15(b)(2); and

              e. provide a publicly available retention schedule detailing the length of time
                 biometric information is stored and guidelines for permanently destroying the
                 biometric information it stores, as required by 740 ILCS 14/15(a).

        28.      By capturing, collecting, storing, and using Plaintiffs’ and the other Class

members’ biometric identifiers and/or biometric information as described herein, Defendants

violated Plaintiffs’ and the other Class members’ respective rights to privacy as set forth in

BIPA. 740 ILCS 14/15(a).

        29.      BIPA provides for statutory damages of $5,000 for each willful and/or reckless

violation of BIPA and, alternatively, damages of $1,000 for each negligent violation of BIPA.

740 ILCS 14/20(1).

        30.      The harms suffered by the Plaintiffs and other members of the Class are actual

injuries, compensable in actual monetary damages under BIPA, no different than any other non-

pecuniary yet monetarily compensable injuries (e.g., reputational harm, pain and suffering,

mental and emotional distress, loss of consortium, and the list goes on and on).

        31.      Defendants’ violations of BIPA, as set forth herein, were knowing and willful, or


                                                   9
  Case: 1:20-cv-00512 DocumentDocument
          Case 1:20-cv-01296   #: 46-3 Filed: 04/27/20
                                         1 Filed       Page Page
                                                  02/13/20  11 of 10
                                                                  12 of
                                                                     PageID
                                                                        11 #:287



were in reckless disregard of the statutory requirements. Alternatively, Defendants negligently

failed to comply with BIPA disclosure, consent, and policy posting requirements.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs and the other Class members respectfully request that the

Court:

            a. Certify the Class as defined above, appointing Plaintiffs as class representatives
               and the undersigned as class counsel;

            b. Declare that Defendants’ actions, as set forth herein, violate BIPA;

            c. Award injunctive and equitable relief as necessary to protect the interests of
               Plaintiffs and the Class by requiring Defendants to comply with BIPA
               requirements for the capture, collection, storage, and use of biometric identifiers
               and biometric information, including an injunction requiring Defendants to
               permanently destroy all biometric information of Plaintiffs and the other Class
               members in their possession and compensation in an amount to be determined at
               trial for the commercial value of Plaintiff’s biometric information;

            d. Award statutory damages of $5,000 for each willful and/or reckless violation of
               the BIPA, pursuant to 740 ILCS 14/20(1);

            e. Award statutory damages of $1,000 for each negligent violation of BIPA,
               pursuant to 740 ILCS 14/20(3);

            f. Award reasonable attorneys’ fees, costs, and other litigation expenses pursuant to
               740 ILCS 14/20(3);

            g. Award pre- and post-judgment interest, as allowable by law; and

            h. Award such further and other relief as the Court deems just and equitable.

                                          JURY DEMAND

         Plaintiffs demand a trial by jury on all causes of action and issues so triable.


Dated: February 13, 2020                        Respectfully submitted,

                                                BURSOR & FISHER, P.A.


                                                By:      /s Joshua D. Arisohn
                                                            Joshua D. Arisohn


                                                   10
Case: 1:20-cv-00512 DocumentDocument
        Case 1:20-cv-01296   #: 46-3 Filed: 04/27/20
                                       1 Filed       Page Page
                                                02/13/20  12 of 11
                                                                12 of
                                                                   PageID
                                                                      11 #:288




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                                     11
